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                                                               U.S. District Court, District of Minnesota




Interpreter Confirmation
The following information confirms services ordered by the U.S. District Court
for the District of Minnesota for contract court interpreting.


GENERAL INFORMATION:
Date Scheduled: 11/2/2021
Name of Requestor: Janet Midtbo

SERVICE INFORMATION:
Name of Agency: Quality Interpretations LLC
Name of Interpreter: Esperanza Lopez−Dominguez
Language: Spanish
Date of Service: 11/4/2021
Time of Service: 11:00 AM
Location of Hearing: Video Conference
Case Number: 0:21−mj−00818−BRT
Case: USA v Kevin Alan Aguilar−Moreno
Travel Required: No
Estimated Duration of Assignment: 1 hour
Estimated Cost of Service: $ 226 Certified Half Day



cc: Jovita Stewart and Mary Betinsky
